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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

 

UNITED STATES OF AMERICA,
Plaintiff

ELTON NANCE,
Defendant

 

MOTION TO CONTINUE

 

Comes now the Defendant, ELTON NANCE by and through his

attorney, and moves this Honorable Cour for an order of

continuance for the sentencing hearin on the indictment in the

above styled cause. In support of s motion, Defendant Nance

would show the Court that:

l. Counsel for Defendant Na e received a copy of the Prem

Sentence Report in this m ter on April 21, 2005. Counsel met

with Defendant on Apri 28, 2005.

2. At that meet‘ g several issues were identified including the

acquisition f court documents.

3. unsel for Defendant has been unable to obtain those

d uments and has not completed research of the issues in the

      

  
 

intervening two weeks
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Counsel for Defendant has conferred with opposing counsel.

He has no objection to this motion.

WHEREFORE, premises considered, Defendant moves this

Honorable Court for a continuance of the sentencing hearing in

the above styled cause.

Respec;f ly submitted,

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_./'
/”Attorney for Defendant
/ P.O. sex 3146

Jackson, TN 38303
731-988-9900

  
 

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CERTIFICATE OF SERVI CE

I certify that I have mailed, first class postage prepaid,
or hand delivered a copy of the foregoing to:

Office of the United States District Attorney
109 S. Highland Ave.

3rd Floor

Jackson, TN 38301

this the ‘Bm day of ;%Z€§zzf , 200§;5/

 

 

0 TESSEE

Notice of Distribution

This notice confirms a copy cf the document docketed as number 110 in
case 1:04-CR-10038 Was distributed by faX, mail, or direct printing on
May 10, 2005 to the parties listed.

 

Richard Leigh Grinalds

U.S. ATTORNEY'S OFFICE
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Ste. 300

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.1 eff Mueller

LAW OFFICES OF JEFF MUELLER
P.O. BOX 3146

lackson7 TN 38303

Honorable .1 ames Todd
US DISTRICT COURT

